Case 2:05-CV-02185-BBD-tmp Document 20 Filed 07/07/05 Page 1 0f3 ‘ Page|D 3

FI.EDB‘\' ____D.C.

IN THE UNITED sTATEs DISTRICT coURT ' __
FoR THE WESTERN merch oF TENNESSEE 05 Jm- "7 m 5’ 1*5

 

 

) news n sam
OUTDOOR OPTICS, ]NC. dfb/a/ ) WOF US mcrang
OLYMPIC OPTICAL CO. ) ‘
)
PIaintift`-, )
)
v. ) Civil Action No. 05-2185 D
) Hon. Bernice Donald
)
DAISY MANUFACTURING COMPANY, INC. )
)
Defendant. )
)
IM;QM

This matter having come before the Court on the unopposed motion of Outdoor Optics, lnc.
d/b/a Olympic thical Co. to substitute assignee as party plaintiff, by and through its attorneys, and
the Court, having considered the papers, and for good cause having been shown; IT lS on this 6

dayof [\..\ \\_/3! ,2005,

ORDER.ED AND ADJUDGED that the unopposed motion to substitute is GRANTED.

T;&W_/

Hon._chicéBonaid-"Fu w .PL\¢¢\
United States Dish'iet-Judge

N¢-'~AM

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with Hu|e 58 and/'or 79(a )FHCP on '

 

 

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Honorable Bernice Donald
US DISTRICT COURT

